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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                              Plaintiffs,
                                                    Case No. 1:20-cv-03010-APM
v.
                                                    HON. AMIT P. MEHTA
GOOGLE LLC,

                              Defendant.


STATE OF COLORADO, et al.,

                              Plaintiffs,
                                                    Case No. 1:20-cv-03715-APM
v.
                                                    HON. AMIT P. MEHTA
GOOGLE LLC,

                              Defendant.



            PLAINTIFFS’ RENEWED OPPOSITION TO ANTHROPIC PBC’s
            MOTION FOR LEAVE TO SUBMIT WITNESS DECLARATIONS

       Anthropic PBC’s (Anthropic) pending motion should be denied as moot. Plaintiffs’

Revised Proposed Final Judgment (RPFJ), ECF No. 1184-1, no longer includes a ban on AI

investment, which—given Google’s multi-billion dollar investment into Anthropic—was the

catalyst that prompted Anthropic to seek to participate as amicus curiae in this case and provide

witness declarations. Notwithstanding the removal of the provision at issue, Anthropic has

renewed its untimely requests. ECF No. 1188 (Anthropic Status Report) at 1; see also ECF No.

1165-1 (Motion for Leave to Participate as Amicus Curiae) (Anthropic Mot.).

       Given the changes to Plaintiffs’ RPFJ as it relates to AI investment, Anthropic’s belated



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request to submit declarations is even more attenuated. To that end, while Plaintiffs defer to the

Court on whether to allow any amicus filing, they firmly oppose Anthropic’s request to inject

itself into the evidentiary record at this late stage and submit witness declarations. See ECF No.

1179 (Plaintiffs’ Memorandum In Partial Opposition To Anthropic’s Motion For Leave To

Participate As Amicus Curiae) (Plaintiffs’ Opp.) at 6–7.

I.     Plaintiffs’ Revised Proposed Final Judgment Has Mooted Anthropic’s Interest
       In This Litigation

       Plaintiffs’ RPFJ has mooted Anthropic’s purported need to participate. Anthropic framed

its initial request as an attempt to “address the threat to its business and contractual relationships

with [Google LLC] posed by the portion of Plaintiff’s proposed final judgment that would

prohibit Google from acquiring or holding any interest in any company that controls an AI

product, including Anthropic.” Anthropic Mot. at 1. This provision was set out in Section IV(G)

of Plaintiffs’ Initial Proposed Final Judgment, ECF No. 1062-1 at 8.

       By contrast, Plaintiffs’ RPFJ eliminates Section IV(G) and no longer prohibits Google

from investing in AI. Instead, the RPFJ contains a prior notice provision—common in antitrust

remedies—for certain of Google’s acquisitions (and other ventures and combinations) with any

firm that competes with Google in the market for general search engines or search text ads, or in

any firm that controls a search access point or a generative AI product. Plaintiffs’ RPFJ at 10–11

(Section IV(H)). Section IV(H) mirrors the provision for merger filings under the Hart-Scott-

Rodino Antitrust Improvements Act of 1976 (HSR Act). 15 U.S.C. § 18a et seq. Courts often

include this provision in the context of consent decrees with the Antitrust Division. See, e.g.,

United States v. Bayer AG et al., Case No. 1:18-cv-01241-JEB (D.D.C. Feb. 8, 2019), ECF No.

25 at 39 (Final Judgment); United States v. Smiths Group PLC et al., Case No. 17:cv-00580-

RMC (D.D.C. June 22, 2017), ECF No. 10 at 18–19 (Final Judgment).


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       A notice provision is especially appropriate in this case. As the Court found in its liability

opinion, Google’s anticompetitive conduct has the ongoing effect of “freez[ing] the ecosystem in

place.” ECF No. 1033 (Redacted Memorandum Opinion) at 202. And, as Plaintiffs’ will

establish at the evidentiary hearing, generative AI products are becoming a next generation

search access point, as well as a popular feature of existing general search engines. The remedy

in this case must “pry open” these markets to competition. Ford Motor Co. v. United States, 405

U.S. 562, 577–78 (1972). Plaintiffs’ RPFJ merely proposes a notification provision that would

allow for intervention before any acquisition or venture by Google cuts against the final

judgment’s efforts to restore competition.

       Anthropic’s argument that Plaintiffs’ revised proposal would “disrupt Anthropic’s

business and its relationship with a significant strategic partner” is undercut by Anthropic’s own

submission one sentence later, when it admits that Plaintiffs’ RPFJ would have no immediate

effect on Anthropic’s business. Anthropic Status Report at 1 (“[T]he RPFJ would not require

Google to divest its existing interest in Anthropic or directly prohibit future investments[.]”

(emphasis original)). Attempting to manufacture a future grievance, Anthropic argues that

Plaintiffs’ RPFJ would “significantly delay any future Google investment in Anthropic and give

Anthropic’s competitors an unfair advantage in the fast-moving global AI race.” Id. at 2.

       The public record establishes that Google is far from the only source of capital for

Anthropic. Anthropic has successfully continued its fundraising efforts even in the face of this

litigation. Prior to the filing of the RPFJ, on March 3, 2025, Anthropic announced that it had

completed yet another funding round, raising $3.5 billion at a company valuation of $61.5

billion. Anthropic raises Series E at $61.5B post-money valuation, ANTHROPIC (Mar. 3, 2025),

https://www.anthropic.com/news/anthropic-raises-series-e-at-usd61-5b-post-money-valuation.



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Indeed, Anthropic was able to raise $1.5 billion more than its initial goal of $2 billion during this

raise. Kyle Wiggers, Anthropic reportedly ups its next funding round to $3.5B, TECHCRUNCH

(Feb. 24, 2025), https://techcrunch.com/2025/02/24/anthropic-reportedly-ups-its-next-funding-

round-to-3-5b/. Anthropic was able to raise funding from a wide variety of sophisticated

financial and strategic investors, including Salesforce, Cisco, Fidelity, and Jane Street. Kyle

Wiggers, Anthropic raises $3.2B to fuel its AI ambitions, TECHCRUNCH (Mar. 3, 2025),

https://techcrunch.com/2025/03/03/anthropic-raises-3-5b-to-fuel-its-ai-ambitions/. None of these

investors were Google, and none were deterred by the pendency of this litigation and its potential

outcomes. Id.

       Any of Anthropic’s remaining concerns with the RPFJ’s notice provision ignore the

provision’s scope. It applies only to the subset of transactions not already reportable under the

HSR Act. It is further limited to markets that Google has monopolized and products that serve as

critical inputs to the monopolized markets. And, of course, it applies only to Google. Indeed,

Anthropic’s complaint that the notice provision will hinder Anthropic’s efforts to compete turn

competition on its head. Anthropic Status Report at 3 (describing each of Anthropic’s

competitors as “funded by a single technology-industry giant”). Receiving billions of dollars

from Google is no precondition to Anthropic competing on the merits. Anthropic’s own efforts

demonstrate that.

       Examined closely, Anthropic’s interest here is a highly speculative and generalized hope

that it might receive even more investment from Google at some undetermined future point. This

interest cannot support Anthropic’s requested relief. See below at Section II; see also Med. Liab.

Mut. Ins. Co. v. Alan Curtis LLC, 485 F.3d 1006, 1008 (8th Cir. 2007) (“An interest that is

contingent upon the occurrence of a sequence of events before it becomes colorable is also not



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sufficient to satisfy Rule 24(a)(2)) (internal quotations omitted).

II.       Anthropic’s Request Should Be Considered As If It Were A Proposed
          Intervenor And Denied As Untimely

          Furthermore, the Court should reject Anthropic’s thinly veiled attempt to fashion its

motion to intervene as a mere request to submit an amicus brief. In its Reply, 1 Anthropic argues

that it only requests the same treatment that the Court afforded Apple and is not attempting to

intervene. ECF No. 1182 (Reply In Support Of Anthropic’s Motion For Leave To Participate As

Amicus Curiae) (Anthropic Reply) at 2. But Anthropic’s brief belies this argument. Nearly all

the legal authority that it cites are cases relating to intervention, not requests to submit amicus

briefs. See Anthropic Mot. at 12–16 (citing, among others, Children’s Health Def. v. FCC, 25

F.4th 1045, 1049 (D.C. Cir. 2022); Crossroads Grassroots Pol’y Strategies v. FEC, 788 F.3d

312, 320 (D.C. Cir. 2015); Karsner v. Lothian, 532 F.3d 876, 885 (D.C. Cir. 2008); Nuesse v.

Camp, 385 F.2d 694, 700 (D.C. Cir. 1967) (cases addressing motions to intervene on which

Anthropic principally relies)). The remainder are inapposite Article II due process cases.

Anthropic Reply at 2 (citing Ralls Corp. v. Comm. on Foreign Inv., 758 F.3d 296, 317–18 (D.C.

Cir. 2014); Mathews v. Eldridge, 424 U.S. 319, 333 (1976)). Anthropic’s request is properly

evaluated by its function, not its form. See United States v. Buck, 281 F.3d 1336, 1342 (10th Cir.

2002) (“The substance of the plea should control, not the label.”). Submitting witness

declarations is participation closely akin to an intervening party. See Orion Wine Imports, LLC v.

Applesmith, 440 F. Supp. 3d 1139, 1146 (E.D. Cal. 2020), aff’d, 837 F. App’x 585 (9th Cir.

2021) (citing WildEarth Guardians v. Jeffries, 370 F. Supp. 3d 1208, 1228 (D. Or.




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      Plaintiffs note that Anthropic filed its Reply to Plaintiffs’ Opposition without leave of the
      Court. ECF No. 1182. This district’s local rules require leave before filing a reply in support
      of a motion for leave for amicus participation. Local Civil Rule 7(o)(2).
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2019)(“[A]mici are not, absent a grant of intervention, parties to an action and therefore cannot

offer evidence on their own.”). The Court should apply the test for intervenors and deny

Anthropic’s request for witness declarations as untimely. See Plaintiffs’ Opp. at 2–3.

III.    Anthropic’s Interests Are Aligned With Google And Will Be Well Represented
        At The Evidentiary Hearing

        With its original purpose for participation gone, Anthropic parrots Google’s own self-

serving talking points to argue that the RPFJ’s would affect “competition in AI and adjacent

market” supports its participation. Anthropic Status Report at 3. But Google can certainly

represent this interest at the evidentiary hearing given that it has invested “billions of dollars” in

Anthropic and regularly invests in other AI companies. ECF No. 1165-2 (Redacted Declaration

of Tom Brown) at 3.

                                              CONCLUSION

        For these reasons, Plaintiffs respectfully request that this Court reject Anthropic’s request

to submit declarations in this matter.



        Dated: March 19, 2025                            Respectfully submitted,


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